Case 3:12-mj-00349-MHL Document5 Filed 09/11/12 Page 1 of 2 PagelD# 16

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
RICHMOND DIVISION

UNITED STATES OF AMERICA

Vv. CASE NO.3:12MJ00349-001

ANDREW ROBER*? MacCABE

TEMPORARY DETENTION ORDER
It appearing to the Court that this case involves a serious
risk that the defendant will flee or attempt to obstruct
justice, and upon motion of the United States Attorney, it is
ORDERED that:
1. A Detention Hearing be held.

2. The hearing be held at the United States District
Court, Richmond, Virginia, at 12:45 p.m. on September 13, 2012.
3. The defendant is committed to the custody of the

Attorney General of the United States pursuant to 18 U. S.C.

Section 3142(f) for confinement in a corrections facility,
separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal.

4. The defendant be afforded reasonable opportunity to
consult with his attorney.

5. The person in charge of the corrections facility
Case 3:12-mj-00349-MHL Document5 Filed 09/11/12 Page 2 of 2 PagelD# 17

deliver the clefendant to the United States Marshal on order of a
Court of the United States or on request of an attorney for the
government.

6. The person in charge of the corrections facility
deliver the defendant to the United States Marshal and the
United States Marshal produce the defendant before this Court at
12:45 p.m. on September 13, 2012 for further proceedings.

7. The preliminary hearing will be held at the same time
unless otherwise objected to by either party.

Let the Clerk send a copy of this order to all counsel of

record and to the United States Marshal for this District.

/s/ eZ

M. Hannah Lauck WW

United States Magistrate Judge

Dated: September 11, 2012
